
758 So.2d 723 (2000)
Lazaro B. RIVERO, Appellant,
v.
STATE of Florida, Appellee.
No. 4D00-0964.
District Court of Appeal of Florida, Fourth District.
April 26, 2000.
Lazaro B. Rivero, Jasper, pro se.
No appearance required for appellee.
PER CURIAM.
Lazaro Rivero appeals the denial of his motion to correct illegal sentence, in which he sought resentencing under Heggs v. State, 759 So.2d 620 (Fla.2000)(slip op.). We affirm the denial because his motion does not allege the date of his offense, and therefore does not demonstrate that his case fell within the window period during which Chapter 95-184 was unconstitutional. Affirmance is without prejudice to Rivero to file a new motion in the trial court that alleges the date of his offense and shows that he has standing to challenge his sentence on this ground.
WARNER, C.J., STONE and SHAHOOD, JJ., concur.
